Case: 4:14-Cv-02019-CE.] Doc. #: 49-1 Filed: 03/25/15 Page: 1 of 7 Page|D #: 540

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURJ

EASTERN DIVISION

ALEXIS TEMPLETON, et al., )
)
Plaintiffs, )

) Cause No. 4:14cv-2019 CEJ
v. )
)
SAM DOTSON, CHIEF OF POLICE, )
CITY OF ST. LOUIS, et al., )
)
Defendants. )

ORDER OF DISMISSAL

Plaintiffs and Defendants Sam Dotson, Chief of Police of the City of St. Louis
Police Department, Ron Johnson, Missouri State Highway Patrol, and J on Belmar, Chief
of Police of the St. Louis County Police Department, hereby agree that this case has been
settled and that all issues and controversies have been resolved to their mutual
satisfaction Plaintiffs and Defendants request the Court to retain jurisdiction to enforce
the terms of their settlement agreement under the authority of Kokkonen v. Guara'ian Life
Insurance Co. ofAmerica, 511 U.S. 375, 381-82 (l994):

IT IS HEREBY ORDERED:

l. The aforementioned parties shall comply With the terms of the Settlement
Agreement entered on March 25, 2015, a copy of Which is attached as Exhibit A and

incorporated by reference as if fully set forth.

Case: 4:14-Cv-02019-CE.] Doc. #: 49-1 Filed: 03/25/15 Page: 2 of 7 Page|D #: 541

2. By consent of the aforementioned parties, this Court shall retain jurisdiction of
this matter for the purpose of enforcing the terms of the Settlement Agreement through
lst day of January, 2018.

3. Except as provided for in paragraphs l and 2 above, this case is dismissed, with

prejudice

IT IS SO ORDERED this _ day of March, 2015.

 

Judge Carol Jackson

Case: 4:14-Cv-02019-CE.] Doc. #: 49-1 Filed: 03/25/15 Page: 3 of 7 Page|D #: 542

IN THE UNITEI) STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION EXH|B|T

tabbl¢$'

ALEXIS TEMPLEToN, et al.,

) __B__
)
Plaintiffs, )
) Cause No. 4:14cv-2019 CEJ
)
v. )
)
SAM DOTSON et al., )
)
Defendants. )
SETTLEMENT AGREEMENT

 

This Settlement Agreement is entered into this 25th day of March 2015, by
and between Plaintiffs and Defendants Sam Dotson, Chief of Police of the City of
St. Louis Police Department, J on Belmar, St. Louis County Chief of Police, and
Ron Johnson, Missouri State Highway Patrol.

WHEREAS, Plaintiffs have filed a Complaint against Defendants, styled as
set out above (“the lawsuit”); and

WHEREAS, out of the desire to resolve the issues underlying the lawsuit,
the parties agree as follows:

A. Defendants and their agents, servants, employees, and
representatives, will not enforce any rule, policy, or practice that grants law

enforcement officials the authority or discretion to:

Case: 4:14-cv-02019-CE.] Doc. #: 49-1 Filed: 03/25/15 Page: 4 of 7 Page|D #: 543

(l) utilize tear gas, inert smoke, pepper gas, or other chemical agents
(collectively, “chemical agents”) for the purpose of dispersing groups of
individuals who are engaged in non-criminal activity:

(a) without first issuing clear and unambiguous warnings that such
chemical agents will be utilized;

(b) without providing the individuals sufficient opportunity to heed the
warnings and exit the area;

(c) without reasonably attempting to minimize the impact of such
chemical agents on individuals who are complying with lawful law
enforcement commands; and

(d) without ensuring that there is a means of safe egress from the area
that is available to the individuals and announcing this means of
egress to the group of individuals

(2) utilize chemical agents on individuals engaged in non-criminal activity
for the purpose of frightening them or punishing them for exercising their
constitutional rights.

B. Provided, however, that Paragraph A hereof shall not be applicable
to situations that turn violent and persons at the scene present an imminent
threat of bodily harm to persons or damage to property, and when law
enforcement officials must defend themselves or other persons or property

against such imminent threat.

Case: 4:14-cv-02019-CE.] Doc. #: 49-1 Filed: 03/25/15 Page: 5 of 7 Page|D #: 544

C. Defendants will immediately issue the command or order appropriate to
their own law enforcement agency prohibiting the use of chemical agents to
disperse a crowd except in situations where this use is in compliance with the
requirements expressed in Sections A and B.

D. In due course, but no later than August l, 2015, the City of St. Louis
Police Department, the St. Louis County Police Department and the Missouri State
Highway Patrol shall each issue the appropriate policy, command or order
sufficient to ensure that law enforcement officers under their respective commands
shall in all respects comply with Paragraphs A and B hereof. Defendants agree
that the obligation to comply with the conditions set out in Paragraphs A and B is
continuing, and failure of a Defendant to have in place Such policy, command or
order is a violation of this Settlement Agreement which may be enforced by
Plaintiffs against such Defendant according to law. Defendants shall provide a
copy of such policy to Plaintiffs within ten days of promulgation and further agree
to provide a current copy of such policy, command or order within ten businesses
days of a request by Plaintiffs directed to the St. Louis City Counselor, the St.
Louis County Counselor, and to the General Counsel of the Missouri Department
of Public Safety to inspect it.

E. Plaintiffs Alexis Templeton, Maureen Costello, Brittany Ferrell,
Steven Hoffman, Nile McClain, and Kira Hudson shall dismiss the lawsuit with
prejudice insofar as it pertains to Defendants Dotson, Belmar, and Johnson. As a

specific condition of this Settlement Agreement, Plaintiffs agree to accept

3

Case: 4:14-cv-02019-CE.] Doc. #: 49-1 Filed: 03/25/15 Page: 6 of 7 Page|D #: 545

attomey’s fees and costs from Defendants in the total amount of $7,500.00, with
each Defendant to contribute $2,500.00 toward the total amount. Aside from the
foregoing, Plaintiffs waive any rights they may have for attorney fees or costs
under 42 USC Sec. 1988 and Rule 54 FRCP or any other provision of law. The
parties agree that the Federal District Court for the Eastem District of Missouri
shall retain jurisdiction of this matter to enforce the terms of this Settlement

Agreement through the lst day of January, 2018.

/
L_ ” _‘, /_‘ / ct/_v~\/\
Thomas B. Harvey /
Arch City Defenders y-
812 N. Collins Alley

St. Louis, MO 63102

Phone: (855) 724-2489
Fax: (855) 724-2489 facsimile
tharvev@archcitvdefenders.org

Denise Lieberman

Advancement Proj ect

1220 L. Street NW, Suite 850
Washington, D.C. 20005

Phone: (314) 780-1833

Fax: (202) 728-9558
dlieberman@advancernentproiect.org

//
775/
Bi;ezio%"r(Roediger

Saint Louis University School of Law
100 N. Tucker Blvd.

 

Case: 4:14-cv-02019-CE.] Doc. #: 49-1 Filed: 03/25/15 Page: 7 of 7 Page|D #: 546

St. Louis, MO 63101-1930
Phone: (314) 977-2778

Fax: (314) 977-1180
broedige@slu.edu

ATTORNEYS FOR PLAINTIFFS

fmij ML/

Marl§k Lawson
Attorney Manager

City of St. Louis Law Department
1200 Market St, Rm 314

St. Louis, MO 63106

Phone: 314-622-4644

Fax: 314-622-4956
mlawson@slmpd.org
ATTORNEY FOR DEFENDANT
DOTSON

 

Michael E. Hughes '

Michael A. Shuman

Associate County Counselors

41 s. Central Avenue, 9th Fl.
Clayton, MO 63105

Phone: 314-615-7042

Fax: 314-615-3732
MHughesZ@stlouisco.com
ATTORNEYS FOR DEFENDANT
BELMAR '

/ W
///
Rob‘ert ./¢l's€/a€son
Assistant Attorney General
P.O. Box 861
St. Louis, MO 63188
Phone: (314) 340-7861
Fax: (314) 340-7029
ATTORNEY FOR DEFENDANT
JOHNSON

